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IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DIST§ICT OF

TENNESSEE, WESTERN DIVISION "l~.w` i"r l f l"';i 33 537

OLEN M. BAILEY, JR. Individually,

TERESA W. BAILEY, Individually, THE

BAILEY LAW FIRM, A Professional

Corporation; and OLEN M. BAILEY, JR.
and TERESA W. BAILEY, as Successors

of UNBORN BAILEY BABY GlRL,

Plaintiffs,

V.

DECK-WHITE STATION TOWER, LLC;

DECK-WHITE STATION MANAGER,
LLC; KAUFMAN PROPERTIES, INC.;
KAUFMAN REALTY GROUP, LLC;
TRAMMEL CROW COMPANY, P.C.,

INC.; SANITORS, INC.; and JOHN/JANE

DOES, Individually

Defendants and Third-Party

Plaintiffs

V.

D.L. SCHMITZ WATERPROOFING &
RESTORATION COMPANY, lNC., and
KERMIT B. BUCK & SON, INC.,

Third-Party Defendants,

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RN!CE BOUIE DONALD
U.S. DlSTRlCT JUDGE

JOINT MOTION FOR CONTINUANCE
AND FOR SECOND AMENDED JOINT SCHEDULING ORDER

Come all plaintiffs and all defendants, by and through counsel, pursuant to the Federal

Rules of Civil Procedure and Local Rule 7.4 and hereby jointly move the Court for a continuance

of the trial in this matter which is currently set to be heard on December 19, 2005 and further

move for the entry of the Second Amended Joint Scheduling Order filed simultaneously herewith

In support of this Motion, the movants Would show the Court as follows:

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with Rule 58 and/or YS(a)

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l. The Plaintiffs filed their original Complaint on May 27, 2004.

2. The Defendants named in the original Complaint filed their Answer and Third-
Party Complaint on July 22,2004. .

3. The Third-Party Defendant D.L. Schmitz Waterproofing & Restoration Co., lnc.
was served with process on or about August 23, 2004; the Third-Party Defendant Kennit B. Buck
& Son, Inc. was served with process on October 4, 2004.

4. The Plaintiffs filed their First Amended Complaint on October 22, 2004.

5. This case involves claims of personal injury and property damage related to
Plaintiffs’ alleged exposure to mold.

6. Although some of the parties have engaged in some written discovery, the newly-
added parties have not yet engaged in written discovery. Further, no depositions have yet been
taken, and the movants are unable to evaluate the case fully and accurately until further discovery,
and in particular expert discovery, has been completed

7. The trial of this matter is estimated to take at least five (5) days.

WHEREFORE, the parties jointly hereby move the Court for entry of an Order continuing
the trial of this matter, t0 commence on a later date by agreement of the parties and further move
the Court to enter the Second Amended Joint Scheduling Order filed simultaneously herewith,

with the trial date to be re-set by the Court at a later date.

Respectfully submitted thing day of May, 2005.

By:

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CERTIFICATE OF SERVICE

'I` his is to certify that a true and correct copy of the foregoing document has been served on
all counsel of record by placing postage prepaid envelope in United States Mail Service addressed
to them as indicated below their signatures

This the §j`;$/day ofMay, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 2:04-CV-02395 was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

